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                IN THE UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF ARKANSAS
                         WESTERN DIVISION

UNITED STATES OF AMERICA

VS.                             NO. 4:15-CR-00200-4 KGB

JAMES B. MARTIN

                                     ORDER

      Pending before the Court is a motion for issuance of a summons and

revocation of pretrial release (d.e. #40). For good cause shown, the motion for

issuance of a summons is GRANTED. The Clerk is directed to issue a summons

to Defendant James B. Martin for appearance at a hearing before United States

Magistrate Judge J. Thomas Ray on November 18, 2015, at 12:00 p.m., to show

cause why his pretrial release should not be revoked.

      IT IS SO ORDERED this 17th day of November, 2015.




                                      UNITED STATES MAGISTRATE JUDGE
